
607 S.E.2d 646 (2004)
359 N.C. 191
STATE of North Carolina
v.
Thomas Maynard BARNHILL.
No. 535P04.
Supreme Court of North Carolina.
December 2, 2004.
Angela H. Brown, Greenville, for Brown.
Patricia A. Duffy, Assistant Attorney General, Clark Everett, District Attorney, for State of NC.

ORDER
Upon consideration of the notice of appeal from the North Carolina Court of Appeals, filed by the Defendant on the 12th day of October 2004 in this matter pursuant to G.S. 7A-30, and the motion to dismiss the appeal for lack of substantial constitutional question filed by the Attorney General, the following order was entered and is hereby certified to the North Carolina Court of Appeals: the motion to dismiss the appeal is
"Allowed by order of the Court in conference, this the 2nd day of December 2004."
Upon consideration of the petition filed on the 12th day of October 2004 by Defendant in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:

*647 "Denied by order of the Court in conference, this the 2nd day of December 2004."
